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   5                      IN THE UNITED STATES DISTRICT COURT
   6                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
   7
   8    BLACKBERRY LIMITED, a                         )
        Canadian corporation,                         )
   9                                                  )
                             Plaintiffs,              )     Case No. CV 18-1844-GW-KSx
  10                                                        LEAD CONSOLIDATED CASE
                                                      )
  11                 v.                               )
                                                      )     Related Case: 2:18-cv-02693-GW-KS
  12    FACEBOOK, INC., a Delaware                    )
        corporation, WHATSAPP INC., a                 )
  13    Delaware corporation, and                     )      ORDER EXTENDING TIME FOR
        INSTAGRAM, LLC, a Delaware                    )      CASE SCHEDULING REPORT
  14                                                         AND PARTIES’ CASE
        limited liability company                     )
  15                                                  )      NARROWING ELECTIONS
                             Defendants,              )
  16                                                  )
  17    SNAP INC., a Delaware corporation             )
                                                      )
  18                         Defendant.               )
  19         Having considered the Joint Stipulation of the parties, IT IS HEREBY
  20 ORDERED THAT that the deadline for the parties’ Joint Scheduling Report is
  21 extended to May 13, 2019. The deadline for Plaintiff’s final election of claims is
  22 extended to May 13, 2019. The deadline for Defendants’ final election of prior art is
  23 extended to May 28, 2019.
  24         IT IS SO ORDERED.
  25
  26 Dated: May 8, 2019                           ________________________________
  27                                              GEORGE H. WU, U.S. District Judge

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                                                                            Case No. 2:18-cv-01844 GW(KSx)
                                                      -1-                   Case No. 2:18-cv-02693 GW(KSx)
          [PROPOSED] ORDER EXTENDING TIME FOR CASE SCHEDULING REPORT AND PARTIES’ CASE NARROWING ELECTIONS
